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UNITED STATES OF AMER|CA mi n (`)l,_' :i‘| iv)‘Erp;|-_}H!S

P|aintiff

VS.
CR. NO. O4-20339~D

LEANDRE BARNER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG F’ER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Ju|v 21, gM,_at 9:00 a.m., in Courtroom 3. 9th F|oor of the
Federal Bui|ding, |Vlemphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

zT ls so oRoEREo this 3/ day of lvlay, 2005.

B NICE B. D' ALD
UN|TED STATES DlSTR|CT JUDGE

This document entered on the docket sheet in compliance
with Hu|e 55 and/or 32(b) FFiCrP on

 

 

 
  

       
 

UNITED sTATE DISTRIC COURT - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20339 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

